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                             EXHIBIT 1
      Sept. 19, 2024 Letter from Susan Beals to Glenn Youngkin
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                      COMMONWEALTH of VIRGINIA
                                 DEPARTMENT OF ELECTIONS
                                               Susan J. Beals
                                               Commissioner

September 19, 2024

The Honorable Glenn Youngkin
Governor of Virginia
P.O. Box 1475
Richmond, Virginia 23218

Dear Governor Youngkin,

Pursuant to Executive Order 35 (2024), I hereby certify that the following election security procedures
and measures are in place, and requisite related training of registrars has been conducted, prior to the start
of early voting in the 2024 General Election.

Certification of Election Security Procedures

Ballot security
    • Ballots are being tracked through every step of the process via the established chain of custody
        documentation procedures. Ballot chain of custody documents have been reviewed and
        specialized training was conducted at the annual Virginia Election Workshop for General
        Registrars and their staff members.

    •   Local election officials are required and prepared to reconcile the number of ballots cast against
        the number of voters checked into polling places and the number of ballots distributed to voters
        every day. Registrars and officers of election have been provided training and guidance to ensure
        that such reconciliation takes place and, in the event of a precinct being “out of balance,” to
        document an explanation for the discrepancy (e.g., a situation where a ballot is spoiled and a new
        ballot is issued to a voter).

    •   Before being mailed, every absentee ballot must first be requested by a registered voter. The
        guidance provided to registrars and the processes established for issuing ballots in VERIS require
        a completed absentee application for a ballot to be issued. The voter record of every Virginian
        who requests an absentee ballot will be marked when the absentee ballot request is made, when
        the ballot is sent, and when the ballot is received back by the voter.

    •   Returned absentee ballots are not counted until the last four digits of the voter’s Social Security
        Number and year of birth provided on the ballot envelope are matched to the voter’s record in
        VERIS. Since this is a relatively recent requirement stemming from a legislative change, it has
        been given emphasis in guidance, training, and advisories.

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    Toll-Free: (800) 552-9745               TTY: (800) 260-3466                     elections.virginia.gov
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    •   Voters using the Same Day Registration process must complete a provisional ballot. The voter
        registration application to be completed by a voter using Same Day Registration is built into the
        provisional ballot envelope. Further, the training and guidance provided to electoral board
        members, general registrars, and officers of election make clear that voting via Same Day
        Registration is a provisional process.

    •   All ballots cast by voters in Virginia are on paper and retained by clerks of court for 24 months
        following the election. Registrars have been provided training and guidance related to ballot-
        issuing procedures, the post-election handling of election materials, and relevant document
        retention schedules.

Counting Machine Testing and Certification
Localities have certified to the Department of Elections their completion of Logic and Accuracy testing
all equipment including ballot scanners and electronic pollbooks to be used for early voting, starting on
September 20.

Triple Check of Election Result Accuracy
Specialized training on entering of election results was conducted at the annual Virginia Elections
Workshop as well as the Annual Conference of the Voter Registrars Association of Virginia. Additionally,
existing guidance documents from the Department of Elections (“ELECT”) confirm and reinforce these
multi-layered checks.

Certification of Accuracy of Voter Lists

Daily Updates to the Voter List
ELECT and registrars update the voter list daily based upon inputs received from various sources,
including the DMV, the Virginia Department of Health, the Social Security Administration, data sharing
agreements with other states, circuit courts, the Virginia State Police, the National Association for Public
Health Statistics and Information Systems (“NAPHSIS”), and National Change of Address (“NCOA”)
confirmation mailings. These updates include:
    • Adding new eligible voters.
    • Removing voters who have moved in accordance with federal and state law.
    • Removing deceased voters.
    • Removing voters convicted of a felony or adjudicated mentally incapacitated.
    • Removing individuals who declare or provide documentation indicating non-citizenship status
        and who do not respond to an affirmation of citizenship notice.

To that end, DMV now shares non-citizen data daily with ELECT.

The annual List Maintenance Report details these efforts during the September-August timeframe each
year and is due to the General Assembly on October 1.

DMV Confirmation with Federal Sources
The DMV is consistently confirming with the Social Security Administration the validity of Social
Security Numbers of applicants for DMV credentials, such as driver’s licenses. Further, DMV is
conducting verification, using the Department of Homeland Security’s Systematic Alien Verification for

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Entitlements (SAVE) program, of applicants who present documents indicating legal presence (i.e., non-
citizenship).

Awareness Campaign for Election Security

Consistent with Executive Order 35, ELECT has provided information regarding election-related offenses
to all general registrars and state agencies that register individuals to vote. ELECT created posters
available to download and print listing election-related offenses and their punishments. General registrars
and state agencies were directed to post the information in a conspicuous place or provide it to applicants
directly.

Sincerely,




Susan J. Beals
Commissioner
Virginia Department of Elections

Cc: The Honorable Lyn McDermid, Secretary of Administration




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